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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEW JERSEY


   KENNETH M. KRYS, MARGOT                HONORABLE JEROME B. SIMANDLE
   MACINNIS, and THE HARBOUR
   TRUST CO. LTD.,
                                                   Civil Action
                    Plaintiffs,               No. 14-2098 (JBS/AMD)

         v.

   ROBERT AARON, DERIVATIVE                            OPINION
   PORTFOLIO MANAGEMENT LLC, DPM-
   MELLON, LLC, DERIVATIVE
   PORTFOLIO MANAGEMENT, LTD.,
   DPM-MELLON, LTD, and BANK OF
   NEW YORK MELLON CORPORATION,

                    Defendants.


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  SIMANDLE, Chief Judge:

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           INTRODUCTION

           In this lengthy multi-district securities litigation, the

  parties move to exclude in whole or in part the following

  experts:1

           1.     I. Michael Greenberger, Plaintiffs’ expert on
                  Commodity Futures Trading Commission (hereinafter,
                  “CFTC”) and Commodities Exchange Act (hereinafter,
                  “CEA”) issues [see Docket Item 580];


  1 The Court conducted oral argument on the pending motions on
  June 4, 2015.
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        2.    R. David Wallace, CPA, CFF, Plaintiffs’ expert on the
              audit and advisory services rendered to Refco [see
              Docket Item 581];
        3.    Peter Vinella, Plaintiffs’ expert concerning
              Defendants’ alleged knowledge of Refco’s failure to
              segregate SMFF’s excess cash [see Docket Item 582];
        4.    Joan Lipton, CPA/ABV/CFF, Ph.D., Plaintiffs’ expert on
              PlusFunds’ valuation [see Docket Item 583];
        5.    Raymond O’Neill, Defendants’ expert on the practices
              of fund administrators [see Docket Item 584];
        6.    Anthony Travers, Defendants’ expert on the standards
              for directors under Cayman Islands’ Law [see id.];2
        7.    Anthony J. Leitner, Defendants’ expert (in rebuttal to
              I. Michael Greenberger) on segregation issues under
              the CEA and the CFTC [see Docket Item 585]; and
        8.    Avram S. Tucker, Defendants’ damages expert [see
              Docket Item 586]

        The principal issue before the Court concerns whether the

  proposed testimony of these expert witnesses meets the

  qualification, reliability, and fit requirements under Federal

  Rule of Evidence 702.

        For the reasons that follow, Defendants’ motions will be

  granted in part and denied in part with respect to Mr.

  Greenberger, granted in part and denied in part with respect to

  Mr. Wallace, granted in part and denied in part with respect to

  Mr. Vinella, and denied with respect to Dr. Lipton.




  2 The parties requested on the oral argument record that
  resolution of Plaintiffs’ motion to exclude Mr. Travers be
  reserved pending the parties’ informal discussions to resolve
  the issues with respect to Mr. Travers. (See Hr’g Tr. At
  101:16.) Plaintiffs’ motion will, accordingly, be deferred to
  the extent it seeks to exclude Mr. Travers.
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        Plaintiffs’ motions will be denied with respect to Mr.

  O’Neill, deferred with respect to Mr. Travers, granted in part

  and denied in part with respect to Mr. Leitner, and denied with

  respect to Mr. Tucker.

        BACKGROUND

        For purposes of the pending motions, the Court need not

  retrace the parties’ complex history.3

        Rather, the Court notes that this action generally arises

  from the complex financial and brokerage relationships between,

  and ultimate dissolutions of, three entities (and the multitude

  of affiliates associated with each): PlusFunds Group, Inc.

  (hereinafter, “PlusFunds”), SPhinX Funds (hereinafter,

  “SPhinX”), and Refco, Inc. (hereinafter, “Refco”).

        As relevant here, in 2002, PlusFunds created SPhinX, a

  global hedge fund consisting of approximately seventy Cayman

  Islands funds, as an investment vehicle to track the Standard &

  Poor’s hedge fund index.      One of the seventy SPhinX funds,

  SPhinX Managed Futures Fund (hereinafter, “SMFF”), in turn,

  maintained brokerage accounts with the onshore and offshore

  affiliates of Refco, a then-existing financial services and

  3 For a more detailed discussion of the factual predicate and
  procedural history of this action, the Court refers any
  interested readers to the Court’s prior Opinions: Krys v. Aaron,
  No. 14-2098, 2015 WL 3452324 (D.N.J. May 29, 2015); Krys, ___ F.
  Supp. 3d ____, No. 14-2098, 2015 WL 2453720 (D.N.J. May 22,
  2015); Krys, ___ F. Supp. 3d ____, No. 14-2098, 2015 WL 2412448
  (D.N.J. May 20, 2015).
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  brokerage firm.     In connection with such accounts, PlusFunds

  agreed to sweep any of SMFF’s excess cash on deposit with Refco,

  LLC, the onshore affiliate in New York, to Refco Capital

  Markets, Ltd, the offshore affiliate in the Cayman Islands.

        After the revelation that several of Refco’s officers and

  directors participated in a wide-scale, fraudulent

  underreporting of corporate liabilities, however, Refco filed

  for bankruptcy on October 17, 2005.        At that time, Refco held

  $312 million of SMFF’s excess cash in unsegregated accounts, all

  of which the bankruptcy proceeding placed beyond the reach of

  PlusFunds or SPhinX, and ultimately caused these entities to

  file their own bankruptcy proceedings.

        In this action, Plaintiffs Kenneth M. Krys and Margot

  Macinnis, the Joint Official Liquidators of the SPhinX Trust,

  and The Harbour Trust Co. Ltd., the Trustee of the SPhinX Trust

  (collectively, “Plaintiffs”), allege that Defendants,4 all SPhinX

  Funds’ and PlusFunds’ agents and fiduciaries, allowed and/or

  facilitated the unauthorized diversion of SMFF’s excess cash

  from protected, customer-segregated accounts to non-regulated

  and unsegregated offshore accounts with Refco and failed to take




  4 Defendants in this action specifically consist of Robert Aaron,
  Derivatives Portfolio Management, LLC, Derivatives Portfolio
  Management, Ltd., DPM–Mellon, LLC, DPM–Mellon, LTD, and Bank of
  New York Mellon Corporation (collectively, “Defendants”).
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  certain corrective steps in the face of Refco’s potential

  insolvency.5    (See generally Joint Final Pretrial Order.)

        STANDARD OF REVIEW

        Federal Rule of Evidence 702 governs the admissibility of

  expert testimony, and specifically permits a witness qualified

  as an expert to testify in the form of an opinion if: (1) the

  expert’s knowledge will assist the factfinder in understanding

  the evidence or an issue of fact; (2) the testimony relies upon

  sufficient facts or data; (3) the testimony resulted from

  “reliable principles and methods; and (4) the expert “reliably

  applied the principles and methods to the facts of the case.”

  See FED. R. EVID. 702.    In other words, Rule 702 “embodies a

  trilogy of restrictions on expert testimony: qualification,

  reliability, and fit.”      Schneider v. Fried, 320 F.3d 396, 404

  (3d Cir. 2003) (citing In re Paoli R.R. Yard PCB Litig., 35 F.3d

  717, 741–43 (3d Cir. 1994)).



  5 Following the filing of Plaintiffs’ initial and amended state
  court complaints in early 2008, Defendants removed this action
  to this federal Court on April 17, 2008. [See Docket Item 41 in
  Civil Action No. 08-1902 (JBS/AMD).] Shortly thereafter,
  however, the Judicial Panel on Multi-District Litigation
  transferred this action to the Southern District of New York
  (hereinafter, the “MDL District Court”) for inclusion in MDL No.
  1902. [See Docket Item 41 in Civil Action No. 08-1902
  (JBS/AMD).] Following six years of litigation before the MDL
  District Court, the exchange of tens of thousands of documents
  (if not substantially more), and the completion of hundreds of
  depositions, the MDL District Court transferred this action back
  to this Court for all further proceedings on March 24, 2014.
  [See Docket Item 505.]
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         Qualification refers to the requirement that the witness

  possess specialized knowledge, skills, training, or expertise.

  See id. at 404 (citation omitted).        The requirement, however,

  encompasses “‘a broad range of knowledge, skills, and

  training.’”    Id. (citation omitted).      Indeed, the Court of

  Appeals eschews “overly rigorous requirements of expertise” and

  therefore permits witnesses to testify as experts even in the

  absence of formal qualifications (as opposed to simply

  specialized knowledge and training).        In re Paoli, 35 F.3d at

  741.

         The reliability restriction requires that the testimony be

  based upon “the ‘methods and procedures of science’ rather than

  on ‘subjective belief or unsupported speculation’” and that the

  expert have “‘good grounds’ for his or her belief.”           Calhoun v.

  Yamaha Motor Corp., U.S.A., 350 F.3d 316, 321 (3d Cir. 2003)

  (quoting Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579, 589

  (1993)).    In that respect, reliability requires, in essence, an

  examination “‘into the expert’s conclusions in order to

  determine whether [the conclusions] could reliably flow from the

  facts known to the expert and [the] methodology used.’”            In re

  Diet Drugs (Phentermine/Fenfluramine/Dexfenfluramine) Prod.

  Liab. Litig., 706 F.3d 217, 225 n.7 (3d Cir. 2013) (quoting Oddi

  v. Ford Motor Co., 234 F.3d 136, 146 (3d Cir. 2000) (internal



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  quotation marks omitted)).6       The rule does not, however, require

  the party proffering the expert to demonstrate the “correctness”

  of their expert’s opinion.       In re Paoli, 35 F.3d at 744

  (concluding that the “evidentiary requirement of reliability”

  amounts to a lower burden “than the merits standard of

  correctness”).     Rather, the party need only demonstrate “by a

  preponderance of the evidence” that the expert’s opinion bears

  adequate indicia of reliability.         Id.   Indeed, “[a] judge will

  often think” that an expert “has good grounds to hold the

  opinion,” even if the judge finds the opinion otherwise

  “incorrect.”    Id.

        The third requirement, whether the expert testimony would

  assist the trier of fact, “goes primarily to relevance,”


  6 In evaluating reliability, Daubert (and its progeny) directs
  courts to take into account an array of nonexclusive factors,
  including: “(1) whether a method consists of a testable
  hypothesis; (2) whether the method has been subject to peer
  review; (3) the known or potential rate of error; (4) the
  existence and maintenance of standards controlling the
  technique's operation; (5) whether the method is generally
  accepted; (6) the relationship of the technique to methods which
  have been established to be reliable; (7) the qualifications of
  the expert witness testifying based on the methodology; and (8)
  the non-judicial uses to which the method has been put.” In re
  Paoli, 35 F.3d at 742 n.8. These factors, however, “are neither
  exhaustive nor applicable in every case,” Kannakeril v. Terminix
  Int’l, Inc., 128 F.3d 802, 806-07 (3d Cir. 1997), and “[t]he
  District Court has broad discretion in determining the
  admissibility of evidence, and ‘considerable leeway’ in
  determining the reliability of particular expert testimony under
  Daubert.” Simmons v. Ford Motor Co., 132 F. App’x. 950, 952 (3d
  Cir. 2005) (quoting Kumho Tire Co. v. Carmichael, 526 U.S. 137,
  152–53 (1999)).
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  Daubert, 509 U.S. at 591, and specifically requires that the

  testimony “‘fit’” the disputed issues in the case.           Schneider,

  320 F.3d at 404 (citation omitted).        “In other words, the

  expert’s testimony must be relevant for the purposes of the case

  and must assist the trier of fact.”        Id. (citation omitted).

  This “‘helpfulness’ standard,” accordingly, requires “as a

  precondition to admissibility” that that the expert testimony

  possess a valid and specialized connection to the pertinent

  inquiries in the litigation.

        In applying these considerations, “the district court must

  act as a gatekeeper,” preventing the admission of opinion

  testimony that does not meet these three requirements.           ZF

  Meritor, LLC v. Eaton Corp., 696 F.3d 254, 294 (3d Cir. 2012)

  (citation omitted).      Nevertheless, Rule 702 prescribes “‘a

  liberal policy of admissibility.’”        Pineda v. Ford Motor Co.,

  520 F.3d 237, 243 (3d Cir. 2008) (quoting Kannankeril v.

  Terminix Int’l, Inc., 128 F.2d 802, 806 (3d Cir. 1997)).

  Indeed, “vigorous cross-examination, presentation of contrary

  evidence, and careful instruction on the burden of proof” serve

  as “the traditional and appropriate means of attacking shaky but

  admissible evidence.”      Daubert, 509 U.S. at 595.




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        DISCUSSION

        A. The Parties’ Experts on Segregation Issues

        This action will turn, in large part, upon the jury’s

   assessment of various parties’ involvement in, knowledge of,

   and/or responsibility for the unsegregated manner in which Refco

   held SMFF’s excess cash.      As a result, the parties intend to

   proffer competing experts on the regulatory requirements and

   industry practices with respect to segregation.

        As set forth in greater detail below, I. Michael

   Greenberger and Anthony J. Leitner, specifically produced

   lengthy reports, for Plaintiffs and Defendants respectively,

   discussing the laws and industry practices relevant to

   segregation and their opinions concerning the propriety of

   various parties’ conduct.

        Following submission of the briefing associated with the

   pending motion, however, the parties acknowledged at oral

   argument that Berckeley Inv. Grp., Ltd. v. Colkitt, 455 F.3d

   195, 217 (3d Cir. 2006) precludes either expert (and indeed any

   expert) from testifying on questions of law or from stating

   ultimate conclusions of law, particularly with respect to

   whether any individual and/or entity (including, Defendants)

   violated and/or complied with applicable legal requirements.

   (See Hr’g Tr. at 7:8-19.)      The parties further conceded that

   their experts’ reports run afoul of this preclusion in certain

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   respects, and confirmed that the experts would not be called to

   proffer those opinions.

        The remaining inquiry presented by the parties’ motions

   therefore concerns whether these experts have the qualifications

   necessary to offer helpful testimony on segregation issues.

   Despite the parties’ concessions (and because this issue

   presents a common thread throughout several of the disputed

   expert reports), however, the Court will first address, with

   greater specificity, the prohibited areas of conclusory legal

   testimony, prior to turning to the issue of qualifications.

              1. Defendants’ Motion to Exclude I. Michael Greenberger

        Mr. Greenberger, a law professor and a former Director of

   Trading and Markets at the CFTC from September 1997 through

   September 1999, produced a 96-page expert report on June 29,

   2012, in which he generally discusses the CFTC and CEA

   segregation requirements as they pertained to SMFF’s excess cash

   held on deposit with Refco.      [See generally Docket Item 580-3.]

        In moving to exclude Mr. Greenberger, Defendants argue that

   his Report amounts to an “impermissible opinion on governing

   law,” because he offers little more than legal opinions

   concerning the meaning and application of the CEA and CFTC

   regulations regarding segregation of customer cash.          [Docket

   Item 580-1 at 1, 5-7; see also Docket Item 651 at 1-2.]

   Moreover, even if certain select sentences constitute “helpful

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   expert opinion” regarding industry customs, practices, and

   segregation, Defendants assert that Mr. Greenberger lacks the

   qualifications necessary to discuss these issues, because he was

   not employed in the futures’ industry during the relevant

   period.   [Docket Item 651 at 2-3.]

         Plaintiffs counter, however, that Mr. Greenberger’s Report

   provides admissible “‘background information’” on segregation,

   including the relevant “industry standards and the regulatory

   regime,” that supports Plaintiffs’ position that SPhinX and

   PlusFunds had “reason to expect” that the SPhinX assets on

   deposit with Refco remained “protected.”7        [Docket Item 634 at 2-

   4.]   Plaintiffs further argue that excluding Mr. Greenberger’s

   testimony “would be patently unfair,” given the fact that

   Defendants have proffered a rebuttal expert (Mr. Leitner,

   discussed below) who opines on substantively identical issues.

   [Id. at 6-8.]

         The Court “has discretion to determine whether expert

   testimony” will prove helpful to the trier of fact.          Berckeley

   Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006)

   (citation omitted).     In utilizing that discretion, however, the

   Court “must ensure that an expert does not testify as to the

   7 Plaintiffs further state that the “Report will not be entered
   [into] evidence, and [that] Mr. Greenberger will offer only non-
   legal opinions,” if permitted to testify at trial. [Docket Item
   634 at 9.] As stated above, counsel for Plaintiffs reiterated
   this position on the oral argument record.
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   governing law of the case.”      Id.     Indeed, although Federal Rule

   of Evidence 704 permits an expert to provide testimony that

   “embraces an ultimate issue to be decided by the trier of fact,”

   an expert may not “usurp” a court’s “pivotal role in explaining

   the law to the jury” by “rendering a legal opinion.”           Id.

   (citations omitted).

        Here, Mr. Greenberger states, at the outset (and as his

   ultimate conclusion), that “SMFF was statutorily, regulatorily,

   and contractually entitled by a series of related, but also

   separate and independent, Commodity Exchange Act provisions,

   CFTC Regulations, and contract clauses to have its excess cash

   segregated at a futures commission merchant such as Refco LLC or

   wherever Refco LLC unlawfully deposited those funds,” and that

   Defendants’ “many” segregation violations, “especially when

   viewed in their totality in the circumstances of this case

   constitute a knowing fraud, breach of fiduciary duty and trust,

   and conversion.”     [Docket Item 580-3 at 2, 69.]

        In support of this ultimate opinion, Mr. Greenberger

   provides a lengthy recitation of the CFTC and CEA segregation

   and auditing requirements pertaining to customer funds on

   deposit [id. at 12-35],8 the purposes of such requirements, and


   8 An expert witness usurps the Court’s function by defining the
   applicable law. If the applicable law is in dispute, it is for
   the judge and not the jury (or the expert witness) to make that
   determination and to instruct the jury appropriately. It is
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   why these segregation protections applied to the SMFF funds yet

   were violated by a series of actions and/or inaction.           [Id. at

   36-75.]   Indeed, Mr. Greenberger specifically concludes that the

   various entities and individuals involved in the transfer of

   SMFF’s excess cash committed fraud, breaches of their fiduciary

   duties, and conversion.9      [Id. at 76-78.]

        In these respects, Mr. Greenberger unquestionably invades

   the Court’s province by rendering a legal opinion concerning

   whether various agents of Refco, SPhinX, and PlusFunds complied

   with their obligations under federal securities law.10          See

   Berckeley Inv. Grp., 455 F.3d at 218 (finding that an expert

   could not testify concerning whether the plaintiff “complied

   with legal duties” under the securities law).         Indeed, in

   related litigation before the MDL District Court, the MDL

   District Court found that this very Report “appears on its face



   further the judge’s function to assure that evidence at trial,
   by experts or otherwise, does not undermine the clarity of
   actual legal requirements.
   9 The remainder of Mr. Greenberger’s Report contains, in primary

   part, Mr. Greenberger’s criticism of various rulings by the MDL
   District Court and Daniel J. Capra, the Special Master appointed
   by the MDL District Court to issue Report and Recommendations
   concerning various pre-trial issues (hereinafter, the “Special
   Master”). [See, e.g., Docket Item 580-3 at 63-66.] Efforts to
   relitigate determinations of the MDL District Court in related
   litigation hardly provides “helpful” information to the jury in
   this action, particularly to the extent those determinations
   have no application to this litigation.
   10 Indeed, counsel for Plaintiffs conceded on the oral argument

   record that Mr. Greenberger’s opinions in these respects exceed
   that permitted under the Federal Rules of Evidence.
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   to be an opinion of law, in substantial part, if not almost

   entirely.”    [Docket Item 580-6 at 3:7-8.]         The MDL District

   Court therefore struck the Report sua sponte in its entirety.

   [See id.]    This Court agrees that Mr. Greenberger’s Report

   contains many impermissible legal conclusions. Nevertheless, the

   Court will not strike Mr. Greenberger’s Report in its entirety.

   Rather, the Court will endeavor to better define the line

   between permissible testimony on ultimate issues and an

   impermissible legal opinion.

         Critically, Federal Rule of Evidence 704(a) specifically

   permits an expert to proffer testimony that “embraces an

   ultimate issue to be decided by the trier of fact.”            FED. R. EVID.

   704(a).   Indeed, “if a witness (especially an expert) provides a

   solid foundation and explanation on an issue for which the

   factfinder needs assistance, the factfinder might be left

   hanging if the witness cannot cap off the testimony with a

   conclusion about the ultimate issue to which the expert is

   testifying.”    3 STEPHEN A. SALTZBURG, MICHAEL M. MARTIN & DANIEL J.

   CAPRA, FEDERAL RULES   OF   EVIDENCE MANUAL § 704.02[1] (9th ed. 2006).

   Indeed, testimony that amounts to “less than a full narrative

   ... is like the joke without the punchline, the mystery without

   the last page,” particularly with respect to experts, where “a

   conclusion on the ultimate issue often ties the witness’

   testimony together into a coherent whole.”           Id.   Nevertheless,

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   the ultimate issue rule does not enable an expert to “merely

   tell the jury what result to reach.”        FED. R. EVID. 704 advisory

   committee’s notes (1972).      Thus, an expert may not render any

   ultimate opinion concerning, for example, whether a specific

   party had “‘capacity to make a will,’” but may offer an opinion

   concerning whether that party had “‘sufficient mental capacity

   to know the nature and extent of his property and the natural

   objects of his bounty and to formulate a rational scheme of

   distribution.’”    Id. (citation omitted).       In other words, under

   Rule 704, an expert may not make a conclusory statement on a

   party’s capacity, but may provide testimony that touches the

   underlying issues relevant to a determination of capacity.

        This guidepost must then be viewed through the lens of the

   Court of Appeals for the Third Circuit’s guidance in Berckeley

   Inv. Grp., Ltd. v. Colkitt, 455 F.3d 195, 217 (3d Cir. 2006).

   In Berckeley, the Court of Appeals acknowledged that “the line

   between admissible and inadmissible expert testimony as to the

   customs and practices of a particular industry often becomes

   blurred when the testimony concerns a party's compliance with

   customs and practices that implicate legal duties.”          Id. at 218.

   Nevertheless, the Court of Appeals concluded that an opinion on

   the issue of whether a party complied with and/or violated

   “legal duties” constitutes an impermissible legal opinion, even

   if offered by a well-qualified expert.        Id. at 217-218

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   (precluding an “experienced” former Securities and Exchange

   Commission attorney from offering these types of opinions).

        Taken together, these authorities therefore instruct that

   any qualified expert, including Mr. Greenberger, may provide an

   opinion on whether a party’s conduct or actions meet the

   underlying bases for an ultimate issue in a case (by, for

   example, testifying concerning whether certain acts would in the

   abstract be improper and/or inconsistent with a party’s legal

   duties), but may not merely instruct the jury on the result to

   reach based upon a party’s specific conduct or actions (by, for

   example, stating that a party did indeed violate an applicable

   duty through certain actions).11      This distinction, albeit a fine

   one, saves Mr. Greenberger’s Report from being struck in its

   entirety.   With appropriate redactions, Greenberger’s proposed

   testimony will be helpful to the jury in assessing the

   underlying conduct in this case.         Nevertheless, the Court will

   exclude Mr. Greenberger’s Report to the extent he reaches the

   specific conclusion that any Defendant acted in compliance with

   and/or in violation of applicable legal duties or segregation

   requirements.

        When stripped of these improper and ultimate legal

   conclusions, however, the Court cannot ignore that Mr.


   11This distinction applies equally to all testimony discussed
   within this Opinion that will be excluded on these bases.
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   Greenberger’s Report provides contextual information on

   segregation issues and on common customs and practices in the

   securities industry during the relevant period.          [See generally

   Docket Item 580-3.]     These issues remain plainly relevant and

   this background information may prove infinitely helpful to the

   jury in unpacking the intricacies of this complex litigation.

   See Berckeley Inv. Grp., 455 F.3d at 218.         Indeed, Defendants do

   not dispute the helpfulness of this testimony.          [Docket Item 651

   at 2.]   Rather, Defendants challenge Mr. Greenberger’s

   qualifications on these industry issues, because he “was working

   as a law professor,” rather than in the futures industry during

   the relevant timeframe.      [Id.]

        In order to provide testimony concerning the “customs and

   business practices in the securities industry,” a proffered

   expert, like Mr. Greenberger, must generally have expertise “in

   the securities industry at the time” relevant to the litigation.

   Berckeley Inv. Grp., Ltd., 455 F.3d at 218.         Nevertheless, an

   expert need only possess “specialized knowledge” regarding the

   area of testimony.     Leonard v. Stemtech Health Scis., Inc., 981

   F. Supp. 2d 273 (D. Del. 2013) (quoting Elcock v. Kmart Corp.,

   233 F.3d 734, 741 (3d Cir. 2000)).        In other words, the

   testimony must be, “at a minimum,” greater than that of “‘the

   average layman’” at the relevant time, a standard liberally

   applied within this Circuit.       Id. (citation omitted).

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        In applying this standard to Mr. Greenberger, an

   introduction to his general professional background prior to the

   issues implicated in this litigation proves critical.           From

   September 1997 through September 1999, Mr. Greenberger served as

   the Director of the Division of Trading & Markets at the CFTC.

   [Docket Item 580-3 at 3.]      In that capacity, he “engaged” in the

   regulation and oversight of the futures industry on a wide array

   of issues, including “the statutorily and regulatory required

   segregation of customer funds” and the “reporting and auditing”

   requirements related to those customer funds.         [Id. at 4.]

   During this period, Mr. Greenberger also served on “the Steering

   Committee of the President’s Working Ground on Financial

   Markets,” a committee that specifically addressed “issues

   pertaining to the proper segregation of customer funds as

   required by statute and regulation.”        [Id.]   In these respects,

   Mr. Greenberger spent much of this two-year period developing an

   expertise specifically on the issue of segregation.          Indeed,

   counsel for Plaintiffs asserted during oral argument that Mr.

   Greenberger spent “two full years [at the CFTC] working on just

   ... the issue of segregation.”12      (Hr’g Tr. At 13:21-24.)

        Then, following a brief but prominent stint with the United

   States Department of Justice (serving directly under the

   12Mr. Greenberger’s report further reflects that he supervised
   the issuance and implementation of over 50 CFTC regulations and
   interpretative letters. [See Ex. 4 to Docket Item 580-3.]
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   Attorney General),13 Mr. Greenberger joined the faculty of the

   University of Maryland Law School as a Professor in July 2001.

   [Docket Item 580-3 at 3.]      In this academic capacity, Mr.

   Greenberger’s professorial duties have, since the beginning of

   his academic career, specifically included course work on

   “Futures, Options & Derivatives” and lectures on “derivatives

   regulations” in classes “focusing on securities regulation,

   business concepts, and advanced corporate finance.”          [Docket

   Item 580-3 at 5; see also Ex. 2 to Docket Item 580-3.]           In

   addition to these core academic duties, Mr. Greenberger has made

   “66 academic presentations on commodity, futures and derivatives

   regulation,” has written “11 articles” on these subjects, and

   has briefed and/or testified before House and Senate

   Congressional Committees on at least 12 different occasions.

   [Docket Item 580-3 at 5; see also Exs. 2 & 3 to Docket Item 580-

   3.]   Thus, although Mr. Greenberger no longer worked directly in

   the futures’ industry during the timeframe specifically

   implicated in this litigation, i.e., 2002 to 2005, the industry

   expertise that he developed during his tenure at the CFTC




   13Immediately following his tenure with the CFTC, Mr.
   Greenberger acted as “Counselor to the United States Attorney
   General and then as Principal Deputy Associate Attorney
   General.” [Docket Item 580-3 at 5.] In these roles, he
   supervised five of the Department of Justice’s “six litigating
   divisions,” again on a wide range of issues, including fraud.
   [Id.]
                                       20
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   continued to be relied upon and augmented during and after this

   period.   [See Exs. 2 & 3 to Docket Item 580-3.]

        In these respects, Mr. Greenberger’s knowledge and

   professional experience regarding the futures’ industry through

   the relevant time period plainly exceeds that of the average

   layman.   See Kannankeril, 128 F.3d at 809 (“If [an] expert meets

   [the] liberal minimum qualifications, then the level of [an]

   expert’s expertise goes to credibility and weight, not

   admissibility.”).     Moreover, even in the absence of Mr.

   Greenberger’s academic experience, Defendants have not

   identified any relevant change in law that might have diminished

   the expertise that Mr. Greenberger gained from his time with

   CFTC.14   And, in light of Mr. Greenberger’s relevant academic

   pursuits, Plaintiffs have sufficiently demonstrated that Mr.

   Greenberger will offer “background testimony [that] could be

   helpful to the jury.”     Berckeley Inv. Grp., Ltd., 455 F.3d at

   218 (finding a “former counsel for the SEC” qualified to offer

   background testimony on “offshore securities transactions”);

   Leonard, 981 F. Supp. 2d at 281 (finding a professor met the

   minimal qualifications to testify as an expert).

        Therefore, the Court will not exclude Mr. Greenberger from

   providing background testimony relevant to the futures’

   14To the contrary, counsel for Defendants conceded on the oral
   argument record that changes in the relevant law occurred only
   after the time frame implicated in this litigation.
                                       21
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   industry, and specifically concerning the customs and business

   practices with regard to issues of segregation and/or sweeps of

   customer funds.

        For all of these reasons, Defendants’ motion will be

   granted in part and denied in part, without prejudice to

   Defendants’ right to voice any appropriate objections (on

   relevance grounds or otherwise) during Mr. Greenberger’s

   testimony.    The Court therefore turns to Plaintiffs’ challenges

   to Defendants’ expert on segregation issues.

              2. Plaintiffs’ Motion to Exclude Anthony J. Leitner

        Mr. Leitner, the former Managing Director and Co-General

   Counsel of the Equities Division of Goldman, Sachs & Co. and a

   current consultant on securities’ and derivatives’ regulations,

   prepared a rebuttal to Mr. Greenberger’s report on September 14,

   2012, in which he similarly discusses the regulations and common

   industry practices relative to the segregation of customer

   funds.   [See generally Docket Item 585-3.]

        In moving to exclude Mr. Leitner, Plaintiffs argue, in

   essence, that if Mr. Greenberger’s Report fails, so too must Mr.

   Leitner’s, because the Reports reach ultimate conclusions on the

   same substantive issues and therefore suffer from the same




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   deficiencies.15    [See Docket Item 585-1 at 1-6; Docket Item 655

   at 2-4.]

        The Court, however, need not belabor Plaintiffs’ positions,

   because counsel for Defendants conceded on the oral argument

   record that the disputed portions of Mr. Leitner’s Report exceed

   the permissible scope of expert opinion (and concern portions

   distinct from those for which he will be called to testify).

   (See Hr’g Tr. at 18:11-12.)      Nevertheless, for the sake of the


   15Plaintiffs further argue that Mr. Leitner’s opinions should be
   excluded because “they include improper findings of fact,” and
   therefore “invad[e] the province of the jury.” [Docket Item 585-
   1.] The Court, however, finds Plaintiffs’ position without
   merit. Indeed, in support of their position, Plaintiffs rely
   entirely upon Mr. Leitner’s inclusion of a section of “Relevant
   Facts” within this Report. [Docket Item 585-3 at ¶¶ 26-31.]
   Critically, although experts “are generally precluded from
   disclosing inadmissible evidence to a jury,” Williams v.
   Illinois, 132 S. Ct. 2221, 2241 (2012), there is no indication
   at this stage that Defendants will rely upon Mr. Leitner for a
   factual narrative relative to the disputed transfers of SMFF’s
   excess cash (i.e., to explain to the jury Plaintiffs’ version of
   the dispute events). Indeed, counsel for Defendants expressly
   disclaimed any such intention on the oral argument record (see
   Hr’g Tr. At 18:19-21), and the factual assertions themselves
   appear to do little more than disclose the bases of his opinion.
   See FED. R. EVID. 703. Moreover, an expert may “‘base his opinion
   on a particular version of disputed facts and the weight to be
   accorded to that opinion’” rests with the jury, and presents
   “‘proper subject for cross-examination.’” Johnson v. Duffy, 855
   F. Supp. 2d 311, 320 (M.D. Pa. 2012) (quoting Walker v. Gordon,
   46 F. App’x 691, 694-96 (3d Cir. 2002)). Indeed, “Rule 705,
   together with Rule 703, places the burden of exploring the facts
   and assumptions underlying the testimony of an expert witness on
   opposing counsel during cross-examination.” Stecyk v. Bell
   Helicopter Textron, Inc., 295 F.3d 408, 414 (3d Cir. 2002).
   Finally, because the Court will instruct the jury on the use and
   weight of expert testimony, the Court finds no incurable risk of
   jury confusion.
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   clarity, the Court will briefly highlight the improper portions

   as examples of the proffered testimony which must be eliminated.

        Critically, in his Report, Mr. Leitner essentially

   concludes that PlusFunds (rather than Defendants) “authorized”

   the transfer of SMFF’s excess cash (thereby rendering PlusFunds

   accountable for any resulting losses) and that these transfers,

   in any event, comported with regulatory requirements and

   industry practices.     [Docket Item 585-3 at ¶¶ 3, 36, 41-44, 51-

   53, 56.]   In concluding that “ample documentary evidence”

   supports the conclusion that PlusFunds “authorized” and/or

   “ratified” the sweeps of SMFF’s excess cash, however, Mr.

   Leitner, like Mr. Greenberger, renders an impermissible legal

   opinion.   [See, e.g., id. at ¶¶ 3, 11, 51-52, 56.]         Mr.

   Leitner’s conclusion that the transfer of SMFF’s excess cash to

   Refco complied with applicable CEA and CFTC regulations

   similarly constitutes an improper opinion on an ultimate legal

   issue.   [See, e.g., id. at ¶¶ 3, 36, 56.]        As does Mr. Leitner’s

   statement that “no statutory or regulatory impediment” prevented

   the specific “cash sweep practices” that form the predicate for

   this litigation. [Id. at ¶ 36.]

        Indeed, in these respects, Mr. Leitner largely echoes the

   impermissible legal opinions discussed by Mr. Greenberger, and

   counsel for Defendants has now specifically conceded that no

   expert, including Mr. Leitner, should offer an opinion

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   concerning any party’s compliance with, or violation of,

   applicable law.    (See Hr’g Tr. at 18:11-17.)       As a result, Mr.

   Leitner will, like Mr. Greenberger, be barred from offering any

   legal conclusions, particularly as to whether any Defendant

   acted in compliance with legal duties and/or violated any

   segregation requirements.16

        Nevertheless, the Court has little doubt that Mr. Leitner’s

   testimony on industry customs and practices with respect to

   segregation and cash sweeps will prove helpful to the jury under

   Rule 702.   Indeed, Mr. Leitner’s testimony on these issues will

   allow the jury to contextualize the transactions at issue in

   this litigation, and will further provide helpful comparative

   information concerning industry standards relevant to this

   litigation. [See, e.g., id. at ¶¶ 11, 40-46, 52-53.]           For all of

   these reasons, the Court will not exclude provide background

   testimony relevant to the futures’ industry, and specifically




   16The Court need not reach those areas of Mr. Leitner’s Report
   in which he contradicts Mr. Greenberger’s interpretations of law
   and fact. [See Docket Item 585-3 at ¶¶ 11, 33-54.] Indeed,
   those portions of Mr. Leitner’s Report served only to rebut Mr.
   Greenberger’s testimony in the event the Court allowed him to
   testify “unencumbered in offering all of his legal conclusions.”
   (Hr’g Tr. At 18:14-17.) For the reasons stated above, however,
   Mr. Greenberger will not be permitted to offer these
   conclusions, rendering Mr. Leitner’s impermissible assertions in
   rebuttal unnecessary.
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   concerning the customs and business practices with regard to

   issues of segregation.17

          Plaintiffs’ motion will, accordingly, be granted in part

   and denied in part, without prejudice to Plaintiffs’ right to

   voice any appropriate objections (on relevance grounds or

   otherwise) during Mr. Leitner’s testimony.

        B. The Parties’ Experts on Damages/Valuation Issues

        In this action, Plaintiffs seek damages for the loss of

   $263 million in excess cash, the loss of equity or “enterprise

   value” caused by the collapse of PlusFunds, the loss of

   PlusFunds’ license to use the Standards & Poor’s brand “to

   create and market” investment products, and the additional fees

   and expenses prompted by Defendants’ alleged breaches.           (Joint

   Final Pretrial Order at 20, 73.)

        As relevant here, the parties’ experts, Dr. Joan A. Lipton

   and Avram S. Tucker, have both produced experts’ reports

   concerning the “enterprise value” of PlusFunds, and the manner

   in which to assess and/or discount that value based upon various

   conditions.    In now challenging these experts’ determinations,

   the critical inquiry concerns whether their assessments of

   PlusFunds’ value properly “fits” this action, by offering a

   17Plaintiffs do not specifically challenge Mr. Leitner’s
   qualifications, nor does the Court find any arguable basis to do
   so, given his lengthy industry experience before, during, and
   after the time frame relevant to this litigation. [See generally
   Docket Item 585-3 at ¶¶ 12-25.]
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   relevant financial assessment given the circumstances presented.

   Therefore, the Court turns to the specific nature of each

   expert’s conclusions.

              1. Defendants’ Motion to Strike Joan A. Lipton,
                 CPA/ABV/CFF, Ph.D.

        Dr. Lipton, a Partner in the forensic, litigation, and

   valuation services group of ParenteBeard, LLC, produced an

   expert report on June 28, 2012, concerning the fair market value

   of PlusFunds as of September 30, 2005.        [See generally Docket

   Item 583-3.]    As relevant here, Dr. Lipton specifically asserted

   her opinion that PlusFunds had, to “a reasonable degree of

   certainty,” a fair market value of $196 million as of September

   30, 2005, the month-end immediately prior to the revelation of

   Refco’s widespread financial fraud.        [Id. at 41.]

        In moving to exclude Dr. Lipton, Defendants argue that her

   Report fails to fit the damages issues implicated in this

   litigation, because her calculation of PlusFunds’ “value” fails

   to account for the fact that “Defendants’ alleged wrongful

   conduct—allowing the [SMFF cash] sweeps to occur—directly (and

   positively) impacted PlusFunds’ [assets under management]

   through its relationship with Refco.”18        [Docket Item 583-1 at 10



   18In their opening submissions, Defendants did not challenge Dr.
   Lipton’s qualifications, nor the methodology imbedded within her
   valuation. [See generally Docket Item 583-1.] Rather, in
   response to Plaintiffs’ assertions that Defendants have waived
   any challenge to Dr. Lipton on these bases, Defendants assert in
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   (emphasis in original).]      In other words, Defendants assert that

   Dr. Lipton’s Report fails to answer the critical question “of

   the value of PlusFunds had there never been sweeps of SMFF’s

   excess cash” to Refco.      [Docket Item 652 at 3-4.]      Defendants

   therefore argue that presentation of this inflated and

   “extraordinarily high” valuation will serve only to confuse the

   jury, because it bears no relationship to the damage analysis

   ultimately tasked to the jury.       [Id. at 1, 4-6.]

           Plaintiffs counter, however, that Dr. Lipton did not

   reach “any conclusions as to damages or causation,” because

   Plaintiffs only retained her “for the limited purpose of


   the concluding page of their reply that they “list a variety of
   objections to Dr. Lipton’s methodology through the report and
   proposed testimony of Avram S. Tucker, and in their opposition
   to the Tucker Motion, which should be read in conjunction with
   this motion.” [Docket Item 652 at 7.] Defendants, however, may
   not raise new arguments in a reply. See Laborers’ Int’l Union of
   N. Am., AFL–CIO v. Foster Wheeler Energy Corp., 26 F.3d 375, 398
   (3d Cir. 1994) (citation omitted) (“An issue is waived unless a
   party raises it in its opening brief, and for those purposes ‘a
   passing reference to an issue ... will not suffice to bring that
   issue before this court.’”). Nor may Defendants challenge Dr.
   Lipton through incorporating b reference their briefing on a
   distinct expert. The Court will, accordingly deem arguments made
   for the first time in reply waived. See, e.g., Am. Home
   Mortgage Corp. v. First Am. Title Ins. Co., No. 07–1257, 2007 WL
   3349320, at *3 n.8 (D.N.J. Nov. 9, 2008) (finding arguments made
   for the first time in reply waived). Moreover, even upon
   consideration of Defendants’ arguments, the Court has no doubt
   that Dr. Lipton utilized a reliable and indeed prevailing
   valuation methodology. Indeed, several courts have expressly
   approved the “‘destruction of business’” approach utilized by
   Dr. Lipton. MacDermid Printing Solutions, Inc. v. Cortron
   Corp., No. 08-1649, 2014 WL 2616836, at *4 (D. Conn. June 12,
   2014) (quoting Indu Craft v. Bank of Baroda, 47 F.3d 490 (2d
   Cir. 1995)).
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   calculating the value of PlusFunds as of September 30, 2005.”

   [Docket Item 635 at 7.]      Nevertheless, that omission alone

   purportedly proves insufficient to provide “a basis for

   excluding [Dr. Lipton’s Report] from consideration by the jury,”

   because “the valuation of PlusFunds immediately prior to its

   destruction provides a critical starting” or reference point

   “that the jury may use to calculate the damages attributable to

   Defendants’ wrongdoing, whatever those damages may be.”           [Id. at

   8-9.]

           Despite the parties’ lengthy positions, they critically

   agree on the appropriate measure of damages in the event

   PlusFunds ultimately prevails on the issue of liability.

   Indeed, the parties consistently assert that the proper measure

   of PlusFunds’ purported damages (assuming a determination of

   liability) amount to the difference between (i) PlusFunds’

   hypothetical value in the absence of Defendants’ allegedly

   wrongful conduct, and (ii) the actual financial position of

   PlusFunds.    [See Docket Item 583-1 at 1; Docket Item 635 at 8;

   Docket Item 652 at 2.]      In other words, Plaintiffs seek damages

   equivalent to the value of PlusFunds had there never been sweeps

   of SMFF’s excess cash to Refco for placement into unsegregated

   accounts.    [Docket Item 635 at 8; Docket Item 652 at 2.]

           Here, there is no dispute that PlusFunds has a present

   value of zero.    The critical question posited to the jury on the

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   issue of damages therefore becomes the damages, if any,

   attributable to Defendants’ alleged conduct.         Nevertheless, Dr.

   Lipton “does not purport to offer an opinion on damages,” nor to

   reach any conclusions as to what portion, if any, of her $196

   million valuation arguably constitutes these damages.           [Docket

   Item 635 at 10.]     Rather, Dr. Lipton narrowly addressed only

   PlusFunds’ value as of September 30, 2005.         [See generally

   Docket Item 583-8.]     For that reason, Defendants take the

   position that Dr. Lipton’s evaluation will not assist the jury

   in reaching a determination on the fundamental question it will

   face relative to damages, namely, the value of PlusFunds in the

   absence of the disputed sweeps of SMFF’s excess cash to Refco.

        Nevertheless, the Court emphasizes that Dr. Lipton’s Report

   discloses, on its face, that it concerns only a valuation as of

   a date certain, and based upon clearly disclosed circumstances.

   [See generally Docket Item 583-8.] In that respect, Defendants’

   challenges to Dr. Lipton’s Report principally rest upon an

   effort to recalibrate Dr. Lipton’s testimony in a manner that

   Dr. Lipton herself expressly disclaims.        Indeed, Dr. Lipton

   could not be clearer in expressing that her Report only relates

   to valuation, and not damages. [See generally id.]          And, based

   upon the expressed nature of Dr. Lipton’s Report, the Court will

   permit her to testify on her valuation opinion, but will not

   permit Dr. Lipton to testify on the issue of damages, nor will

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   the Court permit her conclusions to be construed as an opinion

   on damages.    Her testimony will instead be limited to the

   contours of her Report, and will be contextualized and explained

   to the jury based upon the Report’s intended purpose as a

   valuation, and not as a projection of Plaintiffs’ potential

   recovery.19

          Moreover, the Court finds that Defendants’ challenges to

   the underlying bases for Dr. Lipton’s Report go to weight, not

   admissibility, and therefore constitute challenges properly

   presented through cross-examination, and not through exclusion

   of her otherwise reliable and relevant valuation work.           See

   Stecyk, 295 F.3d at 414 (noting that “Rule 705, together with

   Rule 703, places the burden of exploring the facts and

   assumptions underlying the testimony of an expert witness on

   opposing counsel during cross-examination”).         The factual

   narrative that underpins her conclusions is based on evidence

   that is disputed but provable at trial, as outlined at length by

   Plaintiffs’ counsel at oral argument.        Whether such evidence is

   adopted by the jury is not determined in this Daubert motion.

   It suffices that Lipton propounds a reasonable factual basis

   that resonates with Plaintiffs’ view of the evidence.

          For all of these reasons, Defendants’ motion to exclude Dr.

   Lipton on admissibility grounds under Federal Rule of Evidence

   19   The Court will also reinforce this through jury instructions.
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   702 will be denied, without prejudice to Defendants’ right to

   voice appropriate objections during Dr. Lipton’s testimony at

   trial.   The Court therefore turns to Plaintiffs’ challenges to

   Defendants’ damages expert.

               2. Plaintiffs’ Motion to Strike Avram S. Tucker

        Mr. Tucker, the Chief Executive Officer of TM Financial

   Forensics, LLC, produced an expert report on August 17, 2012,

   concerning the “appropriateness of Plaintiffs’ claimed damages

   of $263 million relating to losses alleged suffered by SMFF” as

   a result of the excess cash on deposit with Refco, and

   concerning Dr. Lipton’s opinion on the fair market value of

   PlusFunds as of September 30, 2005.        [Docket Item 586-3 at 2-3.]

   In assessing these issues, Mr. Tucker essentially concluded: (1)

   that Plaintiffs have failed to demonstrate a causal connection

   between Defendants’ alleged misconduct and the losses claimed as

   damages; (2) that Dr. Lipton failed, for a variety of reasons,

   to perform a proper valuation of PlusFunds; and (3) that

   Plaintiffs’ SMFF damages claim failed to account for the conduct

   of SMFF that occurred after “the disclosure of the Refco

   fraud.”20    [Id. at 6-9.]

        In moving to exclude Mr. Tucker, Plaintiffs argue that Mr.

   Tucker cannot opine on PlusFunds’ value based upon events

   20Defendants, however, have conceded that Mr. Tucker would not
   testify about contingent liabilities, nor PlusFunds’ alleged
   fault for the SMFF transfers.
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   subsequent to PlusFunds’ collapse, namely, financial market

   conditions between 2008-2009, and that Mr. Tucker lacks the

   qualifications and support necessary for his opinions that

   SPhinX could have obtained a greater recovery from Refco through

   pursuit of a claim within the Refco bankruptcy proceeding,

   rather than through a private settlement.21        [Docket Item 656 at

   2-6.]    The Court, however, finds Plaintiffs’ arguments without

   merit.

           Critically, Plaintiffs take the position in this litigation

   that Defendants’ allegedly wrongful conduct with respect to

   SMFF’s excess cash resulted in PlusFunds’ ultimate destruction.

   (See Joint Final Pretrial Order at 73.)        In that respect, and as

   stated above, the parties agree that the measure of damages

   relative to this claim amounts, in essence, to PlusFunds’

   hypothetical value in the absence of the alleged conduct.

   Defendants, in turn, take the plausible position—supported in

   part by Mr. Tucker’s opinion—that the calamities Plaintiffs

   attribute to Defendants’ conduct may ultimately have occurred

   even in its absence.     As a result, Mr. Tucker’s opinion goes not

   to the issue of PlusFunds’ value as of Plaintiffs’ designated

   21Plaintiffs initially moved to exclude Mr. Tucker on an array
   of additional bases. [See Docket Item 586-1.] In opposition,
   however, Defendants conceded that Mr. Tucker would not be relied
   upon for many of these purposes [see Docket Item 633], and
   Plaintiffs have, accordingly, acknowledged that Defendants’
   “several concessions ... narrow the issues” before the Court.
   [Docket Item 656 at 1.]
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   valuation date (September 30, 2005), but instead amounts, in

   essence, to a different and supported conclusion based upon the

   same data.    See In re Fosamax Prods. Liab. Litig., 645 F. Supp.

   2d 164, 209 (S.D.N.Y. 2009) (denying motions to preclude expert

   testimony where the parties simply drew “different conclusions

   from the same data”).     Moreover, even if they did not, the Court

   cannot conclude that events that occurred after 2005 have no

   relevance to the potential calculation of damages in this

   lawsuit, see Legier & Materne v. Great Plains Software, Inc.,

   No. 03-0278, 2005 WL 2037346 (E.D La. Aug. 3, 2005) (denying a

   motion to strike based upon an economic expert’s consideration

   of subsequent events), nor that these subsequent events would,

   under no circumstances, have been reasonably foreseeable to a

   hypothetical willing buyer as of the valuation date.           Therefore,

   the Court finds that Mr. Tucker’s consideration of subsequent

   events does not render his opinion unreliable or otherwise

   inadmissible under Federal Rule of Evidence 702.

        Nor can the Court conclude that Mr. Tucker lacks the

   expertise or support necessary for his opinion concerning the

   potential recovery Plaintiffs would have received by pursuing a

   bankruptcy claim against Refco.

        Critically, Mr. Tucker’s Resume specifically states that

   his experience includes consulting in the area of “bankruptcy

   (including solvency, fraudulent conveyance and valuation),” and

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   discloses that he has provided expert deposition and trial

   testimony before at least one Bankruptcy Court.          [Docket Item

   586-3.]    Indeed, counsel for Plaintiffs conceded on the oral

   argument record that Mr. Tucker has “testified in bankruptcy

   cases” and “evaluated the solvency of companies.”          (Hr’g Tr. At

   55:2-4.)

        Nevertheless, in arguing that Mr. Tucker’s limited

   testimony impermissibly places him in the role of “a bankruptcy

   lawyer,” Plaintiffs’ fundamentally mischaracterize the nature

   and scope of Mr. Tucker’s conclusions.        (Hr’g Tr. At 55:3-6.)

   Indeed, despite Plaintiffs’ position, Mr. Tucker does not opine

   on issues “regarding the bankruptcy claim administration and

   adjudication process.” [Docket Item 656 at 4.]          Rather, Mr.

   Tucker assumes that SMFF “could have filed a claim” against

   Refco’s bankruptcy estate in the amount of $312 million and that

   SMFF’s “claim would have been allowed and treated as a Class 3”

   unsecured claim under Refco’s Chapter 11 Plan.          [Docket Item

   586-3 at 39.]    Based upon these assumptions, Mr. Tucker then

   proceeds to discuss the potential valuation of the hypothetical

   bankruptcy claim in light of publicly-available information

   concerning the distributions made to unsecured creditors in the

   Refco bankruptcy.     [Id. at 39-43.]     Even if bankruptcy falls

   within the penumbra of Mr. Tucker’s overall expertise,

   Plaintiffs cannot dispute that his quantitative expertise as a

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   Certified Public Account and Certified Financial Forensic expert

   renders him acutely qualified to make these sorts of narrow

   conclusions.    For these reasons, the Court finds Mr. Tucker

   amply qualified to render an opinion regarding SMFF’s

   hypothetical bankruptcy claim.

        Therefore, the Court turns to Plaintiffs’ related position

   that Mr. Tucker’s “unsupported analysis” concerning SMFF’s

   potential bankruptcy claim proves “too speculative to be offered

   as expert testimony.”     [Docket Item 586-1 at 14.]       Plaintiffs,

   in particular, take issue with Mr. Tucker’s opinion to the

   extent he “conducts no analysis,” nor expresses any independent

   opinion of this hypothetical claim, and instead “simply parrots

   statements and assumptions made by certain of Plaintiffs’

   experts.”    [Docket Item 656 at 6.]      Nevertheless, the Court need

   not belabor Plaintiffs’ position, because Mr. Tucker’s

   assumptions primarily concern basic issues regarding the filing

   and allowance of bankruptcy claims [see generally Docket Item

   586-3 at 39-43], and his conclusions largely recapitulate

   assumptions relied upon and supported by Plaintiffs’ own

   experts.22




   22The conclusions of an arbitration panel in a related
   litigation concerning certain of these experts’ helpfulness has
   no impact on this Court’s determination of these experts’
   admissibility under Federal Rule of Evidence 702. [See Docket
   Item 656 at 6; see also Docket Item 656-2.]
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        These assumptions therefore have sufficient foundation

   within the record, see Stecyk, 295 F.3d at 414 (citation

   omitted) (generally noting that an expert’s assumptions must

   have some foundation in the record in order to be admissible),

   and Plaintiffs’ criticism of these assumptions goes to the

   weight to be afforded his testimony, but not to its

   admissibility.    See, e.g., Bruno v. Bozzuto’s, Inc., No. 09-874,

   2015 WL 1862990, at *10 (D.N.J. Apr. 23, 2015) (finding the

   reliability of the numbers relied upon in the expert’s

   conclusion an issue concerning the weight to be afforded the

   expert testimony, rather than its admissibility); Floorgraphics,

   Inc. v. News Am. Mktg. In–Store Servs., Inc., 546 F. Supp. 2d

   155, 169 (D.N.J. 2008) (citing Kannankeril v. Terminix Int’l,

   Inc., 128 F.3d 802, 809 (3d Cir. 1997)) (“Whether [Plaintiff's

   expert witness] should have more diligently researched the

   underlying facts given to him by Plaintiff, in the Court's view,

   is a question of weight, not admissibility”); Burke v. TransAm

   Trucking, Inc., 617 F. Supp. 2d 327, 335 (M.D. Pa. 2009)

   (citation omitted) (“Mere weakness in the factual basis of an

   opinion bears on the weight of the evidence, not its

   admissibility”).     These perceived weaknesses can, in turn, be

   addressed through cross-examination, but do not present a basis

   for exclusion.    See Heller v. Shaw Indus., Inc., 167 F.3d 146,

   152 (3d Cir. 1999) (noting that “vigorous cross-examination” and

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   “presentation of contrary evidence” are the “traditional and

   appropriate means of attacking” potentially flawed evidence).

        For all these reasons, Plaintiffs’ motion to exclude Mr.

   Tucker, as narrowed by Defendants’ concessions, will be denied.

        C. The Parties’ Experts on Industry Practices

               1. Defendants’ Motion to Exclude Peter U. Vinella

        On June 29, 2012, Mr. Vinella, a Director at the Berkeley

   Research Group, an expert services and advisory firm, produced a

   137-page expert report, purporting to offer an “opinion

   concerning pertinent regulations and generally accepted industry

   customs and practices concerning the administration of” hedge

   funds, particularly “those domiciled in the Cayman Islands,” and

   “the extent to which Defendants complied with [relevant]

   standards of care.”     [Docket Item 582-3 at 5.]       As relevant

   here, Mr. Vinella specifically rendered the following 8

   opinions:

        1. The Losses suffered by Plaintiffs were the direct
           result of Defendants’ gross and willful negligence
           to perform their duties as an independent fund
           administrator and as an independent director and
           their willful failure to take necessary and
           sufficient action to protect assets belonging to the
           SPhinX Funds as they were obligated to do by
           contract, as a fiduciary, and by regulation;

        2. Defendants acknowledge that the OM sets forth that
           that SMFF Excess Cash Balances must be held in
           Segregated Customer Accounts at all times and that
           such provisions protected said cash from seizure in
           the event of the default of the
           custodian/depository;

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        3. Defendants willfully failed in their duty to
           determine and ensure that the SMFF Excess Cash
           Balance funds would be held in Segregated Customer
           Accounts at RCM prior to any transfer of such funds
           directed, authorized, or facilitated by DPM/DPM
           Cayman;

        4. Moreover, Defendants willfully failed in their duty
           to determine that said funds, in fact, would be held
           in Segregated Customer Accounts at RCM subsequent to
           any transfer of such funds directed, authorized, or
           facilitated by DPM/DPM Cayman;

        5. Further, DPM/DPM Cayman willfully failed in their
           duty to properly invest SMFF Excess Cash Balances
           (i.e. the RCM Sweep Program) in a manner consistent
           with the governing agreements and industry
           practices, but which essentially constituted
           unsecured loans to RCM;

        6. DPM/DPM Cayman knowingly and willfully delivered
           reports and financial statements to the SMFF
           Investment Manager, the board of SMFF SPC, the
           external auditor, and investors which contained
           information that Defendants knew at the time was
           factually incorrect and which materially
           misrepresented the state of SPhinX Funds’
           investments and their associated risks;

        7. Additionally, Defendants willfully failed to report
           suspicious activity and other factors that might
           materially impact the SPhinX Funds to the
           appropriate parties as they were obligated to do by
           regulation; and

        8. Defendants also willfully failed to perform their
           contracted duties and responsibilities in a timely
           and professional manner and willfully failed to
           correct these material deficiencies despite multiple
           warnings and notices.
   [Id. at 7-8 (emphases added).]       Based upon these opinions, Mr.

   Vinella ultimately concluded that the losses Plaintiffs suffered

   “would have been altogether avoided,” if Defendants had

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   “performed their duties and responsibilities in a manner

   generally consistent with those set forth in governing

   agreements, relevant regulations, and accepted industry

   standards of care.”     [Id.]

        Defendants now move to exclude Mr. Vinella to the extent he

   opines on Defendants’ state of mind, questions of law, and

   ultimate issues of fact, all issues beyond the ken of expert

   witnesses.23   [Docket Item 582-1 at 16-26.]       Defendants further

   challenge Mr. Vinella’s qualifications to opine on industry

   practices, based upon his purported lack of “specific hedge fund

   experience.”    [Id. at 24.]

        Plaintiffs counter, however, that Mr. Vinella “was not

   asked, nor did he intend, to opine” on Defendants’ subjective

   intentions or motivations.      [Docket Item 637 at 20.]       Rather,

   Plaintiffs argue that his opinions concern “industry standards—

   that is, what Defendants should have known” or would be

   “expected” to understand under the circumstances.          [Id.

   (emphasis in original).]      Plaintiffs further submit his “25

   23Defendants further challenge Mr. Vinella’s Report on the basis
   that he mischaracterized certain “facts” and/or relied upon some
   “hotly contested point[s]” in reaching his various conclusions.
   [Docket Item 582-1 at 19-22; see also Docket Item 654 at 4-6.]
   As stated above, however, an expert may, in reaching an opinion,
   rely upon disputed issues of fact, and the Court finds
   Defendants’ challenges better address through cross-examination,
   not exclusion. See Stecyk, 295 F.3d at 414. The Court further
   notes that the foundational facts laid out by counsel for
   Plaintiffs seem to be plausible and rooted in evidence
   Plaintiffs intend to present at trial.
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   years” of “practical, hands-on experience with hedge funds and

   hedge funds administration” render him amply qualified.           [Id. at

   2-8.]

           The Court notes, at the outset, that experts may not

   provide testimony concerning “the state of mind” or

   “culpability” of Defendants.       Wolfe v. McNeil-PPC, Inc., 881 F.

   Supp. 2d 650, 661-62 (E.D. Pa. 2012); see also Deutsche v.

   Novartis Pharms. Corp., 768 F. Supp. 2d 420, 448 (S.D.N.Y. 2011)

   (precluding an expert witness from testifying on the defendant’s

   “intent, motivations or state of mind).        Indeed, the question of

   intent constitutes a “‘classic[al] jury question and not one for

   experts.’”    Robinson v. Hartzell Propeller, Inc., 326 F. Supp.

   2d 631, 648 (E.D. Pa. 2004) (citations omitted) (noting that

   “intent” fails to constitute “a proper subject for expert

   testimony); In re Rezulin Prods. Liab. Litig., 309 F. Supp. 2d

   531, 547 (S.D.N.Y. 2004) (excluding expert testimony regarding

   “the intent, motives or states of mind of corporations,

   regulatory agencies and others”).        Likewise, “[a]lthough Federal

   Rule of Evidence 704 permits an expert witness to give expert

   testimony that embraces an ultimate issue to be decided by the

   trier of fact,” an expert witness may not, as described above,

   “render[] a legal opinion.” Berckeley Inv. Grp., Ltd., 455 F.3d

   at 217; see Wolfe, 881 F. Supp. 2d at 662 (noting that only a



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   jury, not an expert, can determine whether a defendant behaved

   negligently).

        Here, however, Mr. Vinella plainly reaches conclusions that

   exceed these bounds.24     Critically, in reaching each of the

   ultimate opinions set forth above, Mr. Vinella invariably relies

   upon his “25 years of experience” in order to opine on what an

   entities and individuals with backgrounds similar to Defendants

   should have known, or should have done, under various

   circumstances.25    [Id. at 59-74.]      Nevertheless, in stating his

   belief on what industry practice would have dictated, and in

   suggesting that Defendants’ actions failed to comport with these

   practices, Mr. Vinella then explicitly reaches an ultimate legal

   conclusion concerning the severity and extent of Defendants’

   alleged deficiency.

        For example, Mr. Vinella opines that, based upon his

   experience, “it is impossible that anyone with the experience of

   [Defendants] could have believed that these transfers to” Refco

   constitute “truly [cash] [s]weeps in the generally accepted use

   of the term without significant doubt.”        [Id. at 59.]     As result

   of this opinion, Mr. Vinella states that, “Defendants willfully

   24 Indeed, counsel for Plaintiffs acknowledged on the oral
   argument record that Mr. Vinella’s Report would require
   revisions. (See Hr’g Tr. at 81:9-12.)
   25 All parties appeared to agree on the oral argument record that

   testimony by a qualified expert concerning what should have
   occurred or been known rests squarely within the province of an
   expert.
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   neglected their fiduciary duty and contractual duty to

   positively affirm” that these transfers amounted “in fact, [to]

   Sweep.”   [Id. (emphasis added).]        Similarly, Mr. Vinella opines

   that he would have expected Defendants’ “document retention

   program to archive all critical records in regard to the books-

   and-records, operations, and administration of funds in a

   readily available format” for at least “five years.”           [Id. at

   66.]   Based upon his review of available evidence, however, Mr.

   Vinella found that many of these records “do no exist” in

   Defendants’ files, and/or “are incomplete and difficult to

   find.”    [Id. at 68.]   As a result of this alleged failure, Mr.

   Vinella concludes that Defendants “willfully failed in their

   duty to properly maintain records and communication pertaining”

   to the operation of SMFF. [Id. at 66 (emphasis added).]           This

   testimony amounts, on its face, to an opinion concerning

   Defendants’ state of mind and/or subjective intent, and must be

   excluded.   See Wolfe, 881 F. Supp. 2d at 661-62 (excluding

   expert testimony concerning the defendants’ state of mind and

   culpability).

          Mr. Vinella’s testimony likewise will be excluded to the

   extent he concludes that Defendants’ conduct breached certain

   legal or contractual duties, because this testimony reaches

   beyond merely addressing an ultimate issue, and instead

   constitutes an inadmissible legal opinion.         See Berckeley Inv.

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   Grp., 455 F.3d at 218 (finding that an expert could not testify

   concerning whether the plaintiff “complied with legal duties”

   under the securities law); see also Wolfe, 881 F. Supp. 2d at

   661-62 (excluding expert testimony concerning whether the

   defendant acted negligent on the grounds that such testimony

   amounted to an impermissible legal opinion).

        The Court, however, finds no support for Defendants’

   position that Mr. Vinella lacks sufficient qualifications and

   experience to testify on industry practices relevant to this

   litigation.    Indeed, in challenging Mr. Vinella’s credentials,

   Defendants rely, almost entirely, upon Mr. Vinella’s lack of

   formal training and/or “relevant” specialized expertise.

   [Docket Item 582-1 at 23-24 (arguing that Mr. Vinella “is not a

   CPA ... has no professional designations in accounting ... holds

   no professional licenses” and lacks experience “relevant to SMFF

   or a Cayman Island hedge fund”).]

        Critically, however, although Rule 702 requires an expert

   witness to have specialized knowledge regarding the area of

   testimony, the basis of this specialized knowledge need not be

   comprised of formal academic training and professional

   credentials.    See Elcock, 233 F.3d at 742 (quoting Waldorf v.

   Shuta, 142 F.3d 601, 625 (3d Cir. 1998)).         Rather, the

   specialized knowledge requirement “‘liberally’” extends to

   “‘practical experience,’” and requires that the proffered expert

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   witness possess, at a minimum, “‘skill or knowledge greater than

   the average layman.’”     Id. (citation omitted).

        Here, although Mr. Vinella lacks any formal academic

   training in an area relevant to the securities area, he does

   have decades of experience advising and consulting on “capital

   market issues concerning trading, risk management, operations,

   and technology” across “global capital markets businesses.”

   [Docket Item 582-3 at Ex. A.]       During this time, Mr. Vinella

   also authored various publications and presentations on topics

   regarding the international financial industry, and participated

   in an array of professional associations, including the

   “Securities Industry and Financial Markets Association.”           [Id.]

   Moreover, in connection with his Report, Mr. Vinella reviewed

   literature specifically concerning the management of Cayman

   Islands’ funds.    [Docket Item 582-3 at Ex. C.]

        Thus, even if his qualifications remain somewhat thin, the

   Court must acknowledge that his practical training (through

   work, publications, presentations, and review of relevant

   literature), reflects that he possesses more knowledge than an

   average lay person regarding “generally accepted industry

   customs and practices” in the administration of hedge funds.

   [Docket Item 582-3 at 5.]      Therefore, the Court finds that Mr.

   Vinella possesses the minimum qualifications necessary to

   testify concerning the industry practices discussed in his

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   Report.   See Pineda, 520 F.3d at 244 (“‘[I]t is an abuse of

   discretion to exclude testimony simply because the trial court

   does not deem the proposed expert to be the best qualified or

   because the proposed expert does not have the specialization

   that the court considers most appropriate.’”) (citation

   omitted); Elcock, 233 F.3d at 744 (finding that an expert

   without formal training nevertheless qualified as an expert,

   based upon degree in a “tangentially related field” and his

   review of “relevant literature in the field”).

        For all of these reasons, Defendants’ motion will be

   granted to the extent it seeks to exclude Mr. Vinella’s

   testimony concerning Defendants’ state of mind (by, for example,

   testifying that Defendants acted “willfully” or “knowingly”) and

   to the extent his testimony constitutes a legal opinion (by, for

   example, testifying that any Defendant breached an applicable

   duty), but denied to the extent it seeks to bar Mr. Vinella’s

   testimony in its entirety.      Plaintiffs shall make redactions to

   Mr. Vinella’s proposed Report consistent with this Opinion and

   counsel’s concessions.

              2. Plaintiffs’ Motion to Exclude Certain Testimony by
                 Raymond O’Neill

        On August 31, 2012, Mr. O’Neill produced an expert report

   on the general practices of hedge fund administrators, and

   specifically concerning:


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        1. DPM’s role as an administrator and whether its
           actions were consistent with the standard of care in
           the hedge fund industry at the time;

        2. The market practice of transferring money from prime
           brokers to offshore accounts;

        3. The SPhinX directors’ role in the opening of
           accounts at Refco;

        4. The role of DPM around the movement of cash at the
           prime broker;

        5. The alleged inadequacies of the accounting for and
           reporting on the SPhinX hedge funds and the alleged
           nondisclosure of excess cash held at RCM; and

        6. The conclusions reached by certain of Plaintiffs’
           experts.
   [Docket Item 584-3 at 2.]

        In moving to narrow the scope of Mr. O’Neill’s potential

   trial testimony,26 Plaintiffs argue that Mr. O’Neill’s Report

   reaches “improper findings of facts and conclusions of law.”

   [Docket Item 584-1 at 4.]      Plaintiffs therefore argue that Mr.

   O’Neill should be precluded “from stating legal conclusions or

   testifying as to the facts of the case without a foundation of

   personal knowledge, and that his testimony should instead be

   limited to the standard practices of accountants and hedge fund

   administrators.    [Id. at 4-5.]     Despite Plaintiffs’ position,




   26Plaintiffs moved to preclude certain testimony of Raymond
   O’Neill and Anthony Travers in a single submission. [See Docket
   Item 584-1; Docket Item 657.] Nevertheless, because the experts
   opine on distinct topics, the Court will address Plaintiffs’
   motion separately as to each witness.
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   the Court finds exclusion of any of Mr. O’Neill’s testimony

   unwarranted at this time.

        As explained above, it is clear that an expert’s testimony

   may, if otherwise qualified under Rule 702, reach an ultimate

   issue in a case, but may not provide an ultimate legal opinion.

   See Berckeley Inv. Grp., Ltd., 455 F.3d at 217; see also Lynch

   v. J.P. Stevens & Co., 758 F. Supp. 976, 1014 (D.N.J. 1991)

   (“[l]egal conclusions are not within the ambit of expert

   testimony permitted under Rule 703 of the Federal Rules of

   Evidence”).    Moreover, as with all witness testimony, an

   “expert’s testimony must be accompanied by a sufficient factual

   foundation.”    Gumbs v. Int’l Harvester, Inc., 718 F.2d 88, 98

   (3d Cir. 1983).    In other words, “an expert cannot be presented

   to the jury solely for the purpose of constructing a factual

   narrative based on record evidence.”        Highland Capital Mgmt.,

   L.P. v. Schneider, 379 F. Supp. 2d 461, 469 (S.D.N.Y. 2005).

        Here, however, Plaintiffs mischaracterize the conclusions

   set forth in O’Neill’s Report.       Indeed, in arguing that “legal”

   and “unsupported” conclusions plague Mr. O’Neill’s Report

   [Docket Item 584-1 at 4-6], Plaintiffs rely entirely upon

   statements in the “Executive Summary” of Mr. O’Neill’s Report—a

   section that provides little more than an abbreviated overview

   of his conclusion and constitutes a mere fraction of Mr.

   O’Neill’s (7 pages) of Mr. O’Neill’s lengthy and otherwise well-

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   supported Report.     In the substantive portions of Mr. O’Neill’s

   Report, he then proceeds to provide an in-depth analysis of the

   bases for his opinions (including detailed record citations),

   and specifically couches his testimony upon his perceptions of

   industry understandings and practices.        [See Docket Item 584-3

   at 85.]   In that respect, the Court cannot conclude that Mr.

   O’Neill’s Report exceeds “the purview of experts.”          [Docket Item

   584-1 at 4.]    Rather, the report, when viewed as a whole, bears

   adequate indicia of reliability for purposes of admissibility.

   See Pineda, 520 F.3d at 247 (citation omitted) (noting that the

   standard “‘of reliability is lower than the merits standard of

   correctness’”).

        For all of these reasons, Plaintiffs’ motion as to Mr.

   O’Neill will be denied, without prejudice to Plaintiffs’ right

   to voice any objections at the time of trial in the event Mr.

   O’Neill’s actual testimony reflects an impermissible legal

   conclusion.    Moreover, to the extent Plaintiffs have a basis at

   trial to challenge Mr. O’Neill’s underlying factual assumptions,

   Plaintiffs, of course, retain the right to cross-examine him on

   this and any related issues. See Stecyk, 295 F.3d at 414.

        D. Defendants’ Motion to Exclude R. David Wallace, CPA, CFF

        On June 29, 2012, Mr. Wallace produced an expert report

   specifically for the purposes of companion litigation before the

   MDL District Court regarding professional services rendered to

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   Refco, namely, “the ‘audit’ services” provided by Grant Thornton

   LLP, and the “professional ‘advisory’ services provided by the

   public accounting firm of PricewaterhouseCoopers” LLP.27          [Docket

   Item 581-8 at 5.]

        In that capacity, Mr. Wallace generally opined that Grant

   Thornton LLP and PricewaterhouseCoopers LLP “substantially

   assisted Refco in perpetrating and continuing the Refco fraud,”

   by drafting financial statements that “misrepresented and

   concealed” Refco’s “true financial condition,” and by issuing

   “‘clean’” audition opinions on the financial statements.           [Id.

   at 10-15.]    As specifically relevant here, however, Mr. Wallace

   concluded that PricewaterhouseCoopers LLP’s audited financial

   statements of SMFF for the years 2003 and 2004 failed to

   “disclose” that Refco held SMFF’s excess cash in non-segregated

   accounts.    [Id. at 15.]

        In moving to exclude Mr. Wallace’s testimony, Defendants

   argue that Mr. Wallace should be precluded from testifying

   concerning any alleged deficiencies in any of the SMFF financial

   statements discussed by Mr. Wallace, because Defendants “did not

   prepare those statements, let alone the footnotes that




   27On September 6, 2011, Mr. Wallace produced a pre-Report
   Affidavit, which provided, in essence, a preview of the
   lengthier opinions ultimately set forth in Mr. Wallace’s Report.
   [See Docket Item 581-5.]
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   Plaintiffs (and Mr. Wallace) find objectionable.”28          [Docket Item

   653 at 4 (emphasis in original).]        In the alternative,

   Defendants take the position that Mr. Wallace should, at a

   minimum, be precluded from offering any testimony concerning

   SMFF’s 2002 financial statement, because it exceeds what Mr.

   Wallace included in his Affidavit and Report.         [Id. at 10.]

        Because Mr. Wallace’s report contains no reference to

   SMFF’s 2002 financial statement, the Court will, at the outset,

   preclude Mr. Wallace’s testimony about the 2002 financial

   statement.    Critically, though an expert is not strictly limited

   to the precise words contained within the expert report, it is

   axiomatic that an expert may not present new opinions on topics

   not timely included or otherwise disclosed in the expert’s

   report.   See Fed. R. Civ. P. 26(a)(2)(B) (providing that an

   expert report “shall contain a complete statement of all

   opinions to be expressed and the basis and reasons therefore”);

   see also Pritchard v. Dow Agro Sciences, 263 F.R.D. 277, 284

   (W.D. Pa. 2009) (citation omitted) (generally noting that expert

   testimony “should be stricken if it contains new opinions or


   28In their opening brief, Defendants challenged Mr. Wallace’s
   Report on an array of additional bases, all of which principally
   concerned the fact that Mr. Wallace did not render any opinions
   with respect to Defendants. [See Docket Item 581-1.] In
   opposition, however, Plaintiffs asserted that Mr. Wallace’s
   testimony would extend no further than a discussion of alleged
   misstatements in SMFF’s 2002, 2003, and 2004 financial
   statements. [See Docket Item 636 at 1-2.]
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   information” other than that “set forth in the expert report”);

   Bowers v. Nat’l Collegiate Athletic Ass’n, 564 F. Supp. 2d 322

   (D.N.J. 2008) (exclusion of expert testimony relating to

   information not included in draft expert reports that were

   belatedly disclosed was proper discovery sanction).          Indeed,

   such an untimely inclusion deprives the adversary of adequate

   notice, and the ability to assess the underpinnings of the

   opinion in connection with that expert’s deposition,

   particularly where, as here, the intention to rely upon the

   expert for an undisclosed topic only becomes apparent on the eve

   of trial.   Therefore, the Court will preclude Mr. Wallace from

   providing testimony concerning SMFF’s 2002 financial statements.

        With to SMFF’s 2003 and 2004 financial statements, however,

   the Court will not exclude Mr. Wallace’s limited testimony

   (which would, necessarily, be substantially similar to the 6

   relevant paragraphs of his expert report).29        Critically, Mr.

   Wallace’s Report in this narrow respect concerns his opinion

   that an industry professional would understand SMFF’s financial

   statements “to mean that SMFF’s customers assets were, in fact,

   segregated, and therefore insulated, i.e., protected, from the

   claims of creditors of the custodians of those assets.”           [Docket

   Item 581-8 at 169.]     In other words, he concludes that SMFF’s

   29At oral argument, counsel for Defendants stated that their
   challenge to this portion of Mr. Wallace’s Report amounted to
   only a “nominal” objection.
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   financial statements contained “false” disclosures.          [Id. at

   169-70.]

        This case will hinge, in large part, upon the jury’s

   determination concerning the parties with knowledge and

   responsibility for the failure to maintain SMFF’s excess cash

   within segregated accounts.      In that respect, Mr. Wallace’s

   testimony concerning any industry professional’s interpretation

   of SMFF’s financial statements may prove helpful to the jury in

   determining the cause of Plaintiffs’ claimed losses.           Nor can

   the Court find that any significant jury confusion will result

   from the introduction of this limited testimony.          Finally,

   Defendants’ undisputed position that they “did not prepare” the

   financial statements can be fully aired through cross-

   examination, and therefore does not provide a basis for

   exclusion of this otherwise limited testimony.30         [Docket Item

   653 at 4 (emphasis in original).]

        For all of these reasons, Defendants’ motion to exclude Mr.

   Wallace, as narrowed by Plaintiffs’ concessions, will be granted

   30Defendants initially argued that the MDL District Court had
   striken at least portions of Mr. Wallace’s pre-Report Affidavit
   in connection with a motion to dismiss in the companion
   litigation before the MDL District Court. [See Docket Item 581-1
   at 2-3.] In response to Plaintiffs’ concessions in opposition,
   Defendants no longer pursue this issue. The Court nevertheless
   notes that it is clear and undisputed based upon the parties’
   submissions that neither the Special Master, nor the MDL
   District Court, ever struck Mr. Wallace’s Report, or expressed
   any doubt concerning the narrow aspects of Mr. Wallace’s Report
   implicated in connection with the pending motion.
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   with respect to Mr. Wallace’s anticipated testimony on SMFF’s

   2002 financial statements, but denied with respect to testimony

   concerning SMFF’s 2003 and 2004 financial statements.

           REDACTIONS TO EXPERTS’ REPORTS

           As a result of the Court’s decision on the parties’ various

   motions to exclude, the expert reports will require revisions

   consistent with this Opinion and the parties’ various

   concessions concerning the scope of each expert’s testimony.

   Therefore, the Court will direct counsel to revise the proposed

   expert reports and to provide copies to the adversaries’ counsel

   by no later than June 19, 2015.

           The Court further reminds counsel that, as discussed at

   oral argument, the revised reports provide only the outline and

   scope of the anticipated expert testimony, but are not

   themselves admissible, nor will they be shown directly to the

   jury.    It is, of course, the duty of counsel to clearly advise

   their experts of any limitations placed on their testimony.

           CONCLUSION

           An accompanying Order will be entered.




    June 12, 2015                            s/ Jerome B. Simandle
   Date                                     JEROME B. SIMANDLE
                                            Chief U.S. District Judge




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